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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                               )
                                               )
UNITED STATES OF AMERICA                       )
                                               )
                   v.                          )
                                               )                       No. 16-cr-10094-LTS
ROSS MCLELLAN,                                 )
          Defendant                            )
                                               )
_________________________________              )

                 ASSENTED-TO MOTION TO DISCHARGE MORTGAGE
                           COLLATERALIZING BOND

       Now comes the Defendant Ross McLellan, by and through undersigned counsel, and

hereby respectfully moves this Honorable Court for an Order directing the Clerk for the District of

Massachusetts to discharge the mortgage that is collateralizing Mr. McLellan’s bond.

       On April 5, 2016, Mr. McLellan was released on a $250,000.00 bond collateralized by the

family’s residence, see Dkt. 10, 22. On October 15, 2018, this Honorable Court sentenced Mr.

McLellan to inter alia 18 months’ incarceration. See Dkt. 520. Following his appeal, Mr.

McLellan’s self-surrender date was set for June 22, 2020, and was, upon request, extended to July 7,

2020. See Dkt. 568, 569. Mr. McLellan self-reported to his designated BOP facility on July 7, 2020

in accordance with this Honorable Court’s Order, see Dkt. 569. Accordingly, no bond is necessary to

secure Mr. McLellan’s release.

       WHEREFORE, the defense respectfully requests that this Honorable Court issue an

Order directing the Clerk for the District of Massachusetts to discharge the mortgage that is

collateralizing Mr. McLellan’s bond.
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                      COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       Undersigned counsel conferred with counsel for the Government and the Government, by

and through AUSA Stephen Frank, assents to the instant request.


                                                   Respectfully Submitted,

                                                   /s/ Martin G. Weinberg
                                                   Martin G. Weinberg
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                                                   /s/ Maksim Nemtsev
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Dated: July 9, 2020



                               CERTIFICATE OF SERVICE

      I, Maksim Nemtsev, hereby certify that on this date, July 9, 2020, a copy of the foregoing
document has been served via Electronic Court Filing system on all registered participants.
